   Case 3:12-mj-02574-DEA             Document 28     Filed 09/10/12         Page 1 of 1 PageID: 89




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA
                                                            MAGISTRATE NO. 12-2574


      V.
                                                                    ORDER

MARK BETHEA




       The financial inability of the defendant to retain counsel having been established by the Court,

and the defendant not having waived the appointment of counsel,

               It is on this   10th       day of      SEPTEMBER          ,   2012

       ORDERED that                BRIAN RILEY                  from the Office of the Federal Public

Defender for the District of New Jersey is hereby appointed to represent said defendant for the Initial

Appearance ONLY, or unless otherwise ORDERED by the COURT.




                                                    DOUGLAS EAR’1ERT
                                                    United StateM Atrate Judge
